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                         EXHIBIT 10
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                  18
                                                             OAKLAND DIVISION
                  19
                          COALITION ON HOMELESSNESS, et al.,           CASE NO. 4:22-cv-05502-DMR
                  20
                                                     Plaintiffs.       DECLARATION OF KAKI MARSHALL
                  21      v.                                           IN SUPPORT OF THE REPLY IN
                                                                       SUPPORT OF PLAINTIFFS’ MOTION
                  22      CITY AND COUNTY OF SAN FRANCISCO,            FOR PRELIMINARY INJUNCTION
                          et. al.,
                  23
                                       Defendants.                     Judge:        The Hon. Donna M. Ryu
                  24
                                                                       Hearing Date: December 22, 2022
                  25                                                   Time:         1:00 p.m.
                                                                       Place:        Courtroom 4 – 3rd Floor
                  26                                                                 1301 Clay Street
                                                                                     Oakland, CA 94612
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                      1                              DECLARATION OF KAKI MARSHALL

                      2   I, Kaki Marshall, hereby declare pursuant to 28 U.S.C. § 1746:

                      3             1.   My name is Kaki Marshall, and I am above eighteen years of age. I served as the

                      4   Director of Outreach and Temporary Shelter at the San Francisco Department of Homelessness

                      5   from October 2018 to August 2019. I learned about the above-captioned lawsuit from reading the

                      6   news and felt compelled to share my observations about San Francisco’s response to homelessness

                      7   from the perspective of someone who worked on these issues for the City.

                      8             2.   All facts set forth in this declaration are based upon my personal knowledge, and,

                      9   if called upon to testify as to the truth of these facts, I could and would competently do so.

                  10      Background and Professional Experience

                  11                3.   I have dedicated my career to working for government institutions and nonprofit

                  12      organizations striving to improve outcomes for disadvantaged populations, including the

                  13      homeless. I currently work for the Department of Education of the State of Oregon as a fiscal

                  14      analyst where I support the Office of Diversity Equity and Inclusion with tracking and analysis of

                  15      their Grant In Aid funding for all statewide equity initiatives. I previously held positions at

                  16      Building Opportunities for Self Sufficiency (BOSS)—an organization in Alameda County that

                  17      helps connect unhoused individuals to permanent housing—and served as a Senior Associate at

                  18      PolicyLink, a national research and advocacy think tank focused on advancing social and racial

                  19      equity.

                  20                4.   I received a Master’s Degree in Public Policy from Portland State University in

                  21      2017. I also have a Bachelor’s Degree in Psychology from Portland State University.

                  22                5.   Shortly after receiving my Master’s Degree, I was recruited by the City of San

                  23      Francisco to serve in a senior position as Director of Outreach and Temporary Shelter. I have

                  24      extensive experience working with unhoused individuals in a trauma-informed way, which

                  25      emphasizes providing services and shelter that is appropriate and accessible to individuals who

                  26      have a history of trauma. I myself am a formerly homeless youth who ended my homeless

                  27      experience in 1997. Since then, I have been passionate about working with unhoused individuals

                  28      and doing my part to help people access resources and housing.
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                      1   Working for San Francisco and the Healthy Streets Operation Center (HSOC).

                      2          6.       I began my tenure as San Francisco’s Director of Outreach and Temporary Shelter

                      3   excited about the prospect of working in government. Although I was apprehensive that working

                      4   for San Francisco on its homelessness response could be contentious, I also saw it as an opportunity

                      5   to impact decisions affecting homelessness. I understood that my position would be focused on

                      6   developing systems and partnerships to deliver on the goals of the newly adopted strategic plan of

                      7   the Department. The part of the strategic plan that I would manage included clearing all long-term

                      8   encampments, setting up the coordinated entry system, building new navigation centers and shelter

                      9   beds, and using the new navigation center beds to move priority status people off of the streets and

                  10      into housing.

                  11             7.       I quickly learned that my job was going to look very different than what I had

                  12      hoped. Before I was hired I had a phone conversation with Jeff Kositsky the then Director of San

                  13      Francisco’s Department of Homelessness, who told me he was aware of my previous activism

                  14      regarding street sweeps (when working at BOSS I lead the organization’s work with our

                  15      community organizing team that drafted the homeless person's bill of rights with Tom Amiano).

                  16      During that call he asked me if I would have a problem being responsible to the part of the

                  17      Department that managed all operations related to clearing encampments. I referenced my

                  18      knowledge of the Boise decision and told him that I would accept the job on the condition that I

                  19      would not be asked to break the law. He promised me on that call that we would not ever clear an

                  20      encampment without providing at least two weeks of outreach and engagement to ensure everyone

                  21      in the encampment was assessed and offered shelter.

                  22             8.       Once I was hired as the City’s Director of Outreach and Temporary Shelter, Mr.

                  23      Kositsky informed me that a big part of my new job was actually to act as the lead of a multi-

                  24      agency team that operated out of the City of San Francisco's Department of Emergency

                  25      Management. This team operated in an Incident Command Structure to respond to street

                  26      homelessness. The team was called The Healthy Streets Operation Center (HSOC).

                  27             9.       From October 2018 through August 2019 while I was Director of Outreach and

                  28      Temporary Shelter, I was regularly directed by Jeff Kositsky to collaborate at HSOC with SFPD
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                      1   to plan and execute the forcible removal of people and destruction of their property without

                      2   providing time or resources to determine their housing needs before they were forcibly displaced.

                      3   I was also frequently put in untenable situations of conflict with SFPD and DPW staff with regard

                      4   to daily mandates handed down from the Mayor to HSOC, as described in further detail below.

                      5          10.     I worked and communicated on a daily basis with Jeff Kositsky, Sam Dodge (then

                      6   the HSOC representative for DPW), Commander David Lazar (then SFPD’s HSOC

                      7   representative), and other City department heads with a part to play in responding to the street

                      8   impact of homelessness. My experience of David Lazar and Sam Dodge was that they were under

                      9   tremendous pressure to use any enforcement tactic available to clear the city streets. Both Mr.

                  10      Dodge and Commander Lazar pressured me on a weekly basis for access to any empty shelter

                  11      beds in the system in order to justify a planned sweep. The team seemed to believe that my whole

                  12      job was to provide shelter and outreach services to this enforcement mechanism. I learned that my

                  13      colleagues at HSOC were uninformed about the Department of Homelessness’s strategic plan, and

                  14      that there was a coordinated entry system that was set up to assess and prioritize people for housing

                  15      by need in order to access to the navigation center beds. It became clear to me that HSOC’s

                  16      leadership did not prioritize following the City’s strategic plan to address homelessness.

                  17      San Francisco Orders Camp Clearances Absent Any Available Shelter.

                  18             11.     At the beginning of my tenure, HSOC only involved a small part of the HOT team.

                  19      There were perhaps 8 specialized HOT team members that made up the Encampment Resolution

                  20      Team (ERT). All sweeps that involved HOT were only conducted by the ERT. The ERT met

                  21      weekly to discuss and plan outreach and engagement with all encampments in the City and County

                  22      of San Francisco that had more than 5 tents in the same place for more than 5 days. Sometime in

                  23      early 2019 we announced that we had cleared all long term encampments and at that point Mr.

                  24      Kositsky began to direct me to dedicate ERT team resources to “HSOC operations.” These

                  25      operations appeared to me to be dictated by complaints from the Mayor and or a specific City

                  26      supervisor that felt their constituents 311 complaints were being ignored. Mr. Dodge and SFPD

                  27      representatives believed this change gave them access to the rest of the HOT team and all of the

                  28      shelter beds that HOT had access to. I would note the number of shelter beds that were actually
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                      1   available, and I would request more time for HOT workers to conduct outreach before enforcement

                      2   personnel arrived. HSOC leadership generally insisted that HOT accompany the SFPD at sweeps.

                      3   As much as I could, I would resist having HOT walk with SFPD at sweeps—and instead pressed

                      4   for the HOT team to walk ahead of SFPD to lead our response to unhoused people with shelter

                      5   offers and social services.

                      6          12.     But since there was not ever enough shelter to offer individuals at these HSOC

                      7   operations, the HOT team was typically only able to warn unhoused individuals that the police

                      8   were coming to force them to move— or the HOT team would advise unhoused people to leave

                      9   themselves. I fought against this operational tactic. I told Commander Lazar, Mr. Dodge, and Mr.

                  10      Kositsky that it was putting HOT workers in an unsafe position and also eroded unhoused people's

                  11      trust in them by using them in this way. I believe this created a hostile work environment for HOT

                  12      workers and I said so.

                  13             13.     When I raised these issues to Mr. Kositsky, he would often take my side in private.

                  14      But he would insist that I tone down my objections when confronting SFPD or other HSOC

                  15      employees who I felt were not following the law or our own policies.

                  16             14.     One particular HSOC operation was demanding access to close to 60 shelter beds

                  17      over the course of a several day operation focused on a specific neighborhood. This became an

                  18      agenda item at the weekly HSOC meeting that was held across from the Mayor's office facilitated

                  19      by her chief of staff Sean Elsbernd. At that meeting, Captain Jason Cherniss reported that the SFPD

                  20      had counted the number of individuals that SFPD felt they would need shelter beds to move. Before

                  21      the meeting, I told Mr. Kositsky we had around 9 beds available in the entire system, and that those

                  22      beds were needed by the other 90% of our department that was focused on getting the most

                  23      vulnerable people in the houseless population housed. I told Mr. Kositsky that, at the very most,

                  24      we could spare two beds a day for this operation, which would likely run for two weeks. However,

                  25      that morning when Captain Cherniss said that we would need close to 60 beds for the operation,

                  26      Mr. Kositsky said we would have the beds. Mr. Kositsky then directed me to work with the team

                  27      back at HSOC to develop a plan for the operation that I would present at the next meeting.

                  28             15.     I, along with the HSOC representative from the Department of Public Health,
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                      1   assembled a group of outreach workers from HOT and city-funded local nonprofits. The reported

                      2   plan created at HSOC and presented at the above-referenced weekly HSOC meeting, was as I had

                      3   fought for: the “outreach workers would walk specific streets identified on maps for 3-4 hour

                      4   chunks of time. Then one of the HOT workers would pass along the map of the area covered to

                      5   SFPD and then SFPD would sweep the area. These workers were also supposed to offer and

                      6   provide help with shelter, transportation, or storage of individuals’ property if they were

                      7   interested.” But there were obviously not enough beds available and there was not enough time to

                      8   assess and offer services to the amount of people being forcibly removed.

                      9          16.     I knew from driving to work every morning that DPW regularly swept people at

                  10      hours that HOT was not in operation. I also understood that 80% of what HSOC did was to have

                  11      SFPD respond to 311 complaints that rarely involved HOT or DPH. I had heard from consumers,

                  12      advocates, and nonprofit contractors and had seen first-hand several occasions that DPW workers

                  13      threw property that was either unattended or that someone was unable to carry away into a dump

                  14      truck. But that was not within my control. What was in my control was what the outreach workers

                  15      understood their task was and how we documented it.

                  16             17.     However, Sam Dodge, who at the time was at the Department of Public Works,

                  17      created a tracking tool for the HOT and DPH outreach workers to turn into HSOC along with their

                  18      maps that reported the number of people they engaged and the outcomes. The way Mr. Dodge

                  19      designed the tool was to make a binary outcome for each person an outreach worker said they

                  20      engaged. The options were either “accepted” or “refused” shelter.

                  21             18.     We gathered at HSOC the week after the first operation to prepare our report for

                  22      the weekly HSOC meeting. This is when I discovered that Mr. Dodge intended to report to HSOC

                  23      leadership that, of the 20 individuals we had encountered, practically all of them had refused

                  24      shelter. But the HOT team would often only be able to tell unhoused individuals that the police

                  25      were coming without conducting any coordinated entry assessment that would constitute a shelter

                  26      offer. Mr. Dodge’s tracker logged all of these interactions as shelter refusals, but this was plainly

                  27      inaccurate and a blatant attempt to work around the City’s stated requirements for enforcement.

                  28             19.     I pointed out that we could not characterize someone who did not speak to a service
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                      1   provider as being given a viable shelter offer and refusing it. We discussed the same data issues

                      2   with an outside auditor, who assisted me in fixing the tracking tool to more accurately reflect the

                      3   number of shelter offers made and accepted, which confirmed that few individuals refused shelter

                      4   when offered. The episode confirmed for me that HSOC’s approach was to remove individuals

                      5   from the streets whether or not we could offer them any shelter or services.

                      6          20.     Sam Dodge would constantly request that I deliver a sheet to him every morning

                      7   with the complete shelter bed availability across San Francisco for the day. This was to allow

                      8   HSOC to determine how those shelter beds would be used. Again, this directly contradicted what

                      9   my role required—which was to allocate our limited shelter beds so that they were accessible to

                  10      the unhoused individuals who were most in need.

                  11             21.     For example, even when we did have some shelter beds available, these were often

                  12      navigation center beds, not general shelter beds, for which there was a separate wait list.

                  13      Navigation center placements were the most expensive intervention available to us for unhoused

                  14      San Franciscans most in need of supportive services. Individuals would go through the coordinated

                  15      entry system, and if they were eligible for permanent supportive housing, they would qualify for a

                  16      navigation center placement and, from there, the City would help connect them to the housing they

                  17      needed. I oversaw this program directly.

                  18             22.     I would inform HSOC leadership regarding the limited number of navigation center

                  19      beds available every day for encampment resolutions, noting that the remainder were for the

                  20      individuals who qualified to receive those services because they were the most vulnerable and

                  21      most in need of being connected to permanent housing resources.

                  22             23.     Because of the pressures from HSOC, instead, the vast majority of navigation

                  23      center beds were used to clear people. This meant that most of the individuals who received a

                  24      navigation center bed at a sweep operation were not among the most vulnerable population that

                  25      we would prioritize for these resources. Instead, these people were forced to give up their property

                  26      and move to the navigation center for a few days to justify removing them from public property

                  27      under threat of criminal enforcement. But then they had to returned back to the streets without the

                  28      property they had before—meaning without their blankets or tents. This enforcement-first model
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                      1   meant that dozens of unhoused people desperately waiting for San Francisco’s limited shelter and

                      2   housing resources could not access the resources they were qualified for.

                      3   Driving Forces: Mayor Breed and Supervisors Specifically Order Camp Clearances.

                      4          24.     Even our planned sweep operations through HSOC were often upended when

                      5   Mayor London Breed sent text messages directly to staff. Specifically, Mayor Breed would text

                      6   Jeff Kositsky, Sam Dodge, or the chief of police directing them to immediately remove certain

                      7   individuals from specific areas. The clear mandate from the Mayor was that the unhoused should

                      8   not be visible in public, even if they had nowhere else to go. HSOC would race to respond, putting

                      9   other planned and organized sweeps on hold. We would hold a special HSOC meeting to redirect

                  10      resources to the areas Mayor Breed had identified for that day. In other words, rather than allocate

                  11      services by need, political theater would dictate the services.

                  12             25.     I have personally reviewed many of the text messages Mayor Breed sent to staff to

                  13      remove unhoused people from sight. She would order us to displace unhoused people by a certain

                  14      date and time just because they were in the vicinity of her planned schedule for the day. Mayor

                  15      Breed ordered us to carry out sweeps because she did not want to be seen near unhoused people

                  16      while she was at lunch, at the gym, at fundraisers, or at meetings on public business.

                  17             26.     Although I was San Francisco’s Director of Outreach and Temporary Shelter and

                  18      field work was not in my job description, I would often go out personally to locate the unhoused

                  19      individuals Mayor Breed wanted addressed. I would know that we did not have shelter to offer

                  20      them and that I could not constitutionally ask them to move without offering shelter. So I did what

                  21      I could to temporarily keep them out of the Mayor’s way. Many times, I would ask the unhoused

                  22      individual if I could buy them lunch, just so they would be away from the site long enough to

                  23      satisfy Mayor Breed and the HSOC department heads. If I left this task to someone else, I was

                  24      confident they would break our own policies and the law to move people, especially given pressure

                  25      from the Mayor and other HSOC leaders to clear people away regardless of whether we could

                  26      feasibly provide them with any services.

                  27             27.     The HSOC advisory committee was where Mayor Breed exerted the most

                  28      influence. Sean Elsbernd, the mayor’s Chief of Staff, would facilitate these advisory meetings, and
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                      1   the agenda would tell us which districts to prioritize and where our resources were to be spent.

                      2          28.     HSOC would also prioritize areas to sweep based on which City supervisor or

                      3   commissioner had reached out to HSOC, Jeff Kositsky, or other San Francisco department heads.

                      4   These ad hoc sweeps drew resources directly away from matching the most in-need individuals on

                      5   our waiting lists with shelters that worked for them. Mr. Kositsky would say that we had to make

                      6   the supervisors happy.

                      7          29.     For instance, if a new navigation center opened in a commissioner’s district, all the

                      8   beds in the navigation center would be held for an HSOC operation—using SFPD and DPW to

                      9   plan sweep in sweeps in that district. This approach was driven by a political calculus to help

                  10      particular commissioners look like they were solving homelessness in their district—even when

                  11      we knew we were not actually helping people exit homelessness. This allocation of resources based

                  12      on geography and politics was directly contradictory to my understanding of how navigation

                  13      centers were supposed to be used—which was supposed to be based on problem-solving needs

                  14      and on our coordinated entry assessments.

                  15      Unsanctioned Enforcement: DPW and SFPD Operations Without HOT Involvement

                  16             30.     During my tenure as Director of Temporary Shelter, DPW crews would move

                  17      throughout the City every night and pressure wash the streets. I was not informed in advance about

                  18      any of these actions, and so there were no HOT workers present and available to offer shelter to

                  19      individuals encountered in these nightly sweeps. I have witnessed DPW waking people up and

                  20      forcing them to move under threat of being sprayed with steaming water and other chemicals—

                  21      and compel them to leave the area.

                  22             31.     I knew DPW would engage in these informal sweeps daily. They would show up

                  23      with a dump truck, a street sweeper, and other vehicles, rattling tents and waking individuals up.

                  24      There was no notice for these sweeps, and the HOT team would not be present. This type of

                  25      informal enforcement without services occurs on a daily basis.

                  26             32.     Without anyone from the HOT team to witness and oversee these operations, I

                  27      became aware that DPW workers threw away unhoused people’s survival belongings in large

                  28      numbers instead of following City policy to safeguard, bag and tag, and store unhoused individuals'
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                      1   personal property if it was removed during street cleaning. SFPD would also be onsite during some

                      2   of these off-the-record sweep operations—and yet HOT team was never informed.

                      3             33.   I confronted Sam Dodge, the former head of DPW and current director of HSOC,

                      4   about DPW’s nightly operations without HOT involvement. DPW insisted, however, that these

                      5   informal operations were not considered homeless sweeps and that they are simply regular DPW

                      6   operations. And so these nightly sweeps still continued to be carried out by DPW and SFPD

                      7   without the presence of the HOT team.

                      8   HSOC Takes Additional Steps to Clear Tents at All Costs

                      9             34.   In approximately January 2019, San Francisco announced that it had cleared every

                  10      long-term encampment of more than five tents set up for more than five days. After that, HSOC’s

                  11      encampment resolutions became less planned and more like whack-a-mole. At that time, HSOC

                  12      began focusing on clearing tents wherever they were being set up.

                  13                35.   Sweeping areas over and over again meant that we were encountering the same

                  14      individuals repeatedly. These individuals had already been assessed through the coordinated entry

                  15      system before and did not qualify for permanent supportive housing. This meant that HOT had no

                  16      viable shelter to offer them, and yet they were still being forced to move from place to place by

                  17      threat of criminal enforcement, fines, arrests, and other intimidation. That reality was untenable

                  18      for me.

                  19                36.   Late in my tenure as Director of Outreach and Temporary Shelter, Mr. Kositsky

                  20      and the other HSOC department heads began asking me to share the list I maintained of unhoused

                  21      individuals who were the highest priority for a shelter or housing placement. These were

                  22      individuals who had previously been assessed by my department but who had not yet secured

                  23      permanent shelter or housing that was appropriate for them. HSOC wished to use this list to

                  24      identify people who had previously been “offered shelter” and could therefore be enforced against

                  25      freely. I was asked to share this list directly with police to aid in their enforcement efforts.

                  26                37.   I refused to do so on several grounds. First, claiming that individuals who are

                  27      waiting for appropriate housing have been “offered shelter” is twisted and flatly incorrect.

                  28      Unhoused individuals whom we assessed and who scored high enough on our priority status
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                      1   assessment tool often took months to move from where they were staying into shelter and then

                      2   housing. These people are extremely vulnerable, and as such, once identified, outreach teams are

                      3   engaging with them on a daily basis to build the relationships needed to move them into shelter.

                      4   Police interference has been known to exacerbate symptomology and slow down the process of

                      5   building trust with any institution that would allow for the housing situation to be resolved. Second,

                      6   I was concerned that disclosure of this list would violate various HIPAA provisions. Third, I

                      7   understood it was not legal to punish an unhoused individual simply because they had been offered

                      8   an inadequate shelter placement at some point. This felt like a blatant workaround that still

                      9   amounted to illegal action.

                  10      Direct Observations of Individual Sweep Operations I Witnessed on the Ground

                  11             38.       Because I was in leadership, most of my direct observations regarding San

                  12      Francisco’s sweep operations were at the decisionmaker level during regular HSOC meetings.

                  13      However, I also vividly recall specific instances where I was on the ground and observed City

                  14      employees taking steps that directly contradicted the City’s written policies and the law as I

                  15      understand it.

                  16             39.       One such instance occurred when six individuals were staying on the corner of

                  17      Mason, near Turk, in front of a building that had recently been given to the City. Sam Dodge and

                  18      David Lazar told me that I had until 6 PM to clear the area, and then DPW and SFPD would force

                  19      the individuals staying there to move so that the area would be clear for a press conference the

                  20      next morning.

                  21             40.       I got on the phone with HOT immediately and began trying to find two navigation

                  22      center beds and some HOT team members who could meet me at the site to assist the individuals

                  23      that were there. I rushed to the site and waited for HOT. DPW workers were already there and had

                  24      begun cleaning the street. I stepped between the City workers and the homeless people to begin

                  25      talking with them about the possible opportunity of going to a navigation center. As I spoke to the

                  26      men and continued making phone calls attempting to locate a shelter bed, the City workers were

                  27      moving closer and closer with their steam hoses to myself and the two individuals I was engaging

                  28      with. I identified myself as the Director of Outreach and Temporary Shelter and asked them to
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    SAN FRANCISCO                                                                                   CASE NO. 4:22-CV-05502-DMR
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                      1   give us more time. They continued to pressure us to leave until the homeless people that I was

                      2   attempting to assist finally abandoned a portion of their property to DPW for them to throw into

                      3   the back of their truck. We walked to the other side of the street with whatever property they were

                      4   able to carry and waited for the HOT team to pick them up.

                      5          41.     I was present at the site until about 7 PM trying to find a placement for the people

                      6   there that day. Eventually, HOT arrived and offered the individuals a navigation center. By the

                      7   time HOT got there, however, DPW had already begun sifting through people’s belongings and

                      8   pressuring them to throw things away.

                      9   Reflections on the City’s Conduct

                  10             42.     There were many times when I was working for San Francisco that I believed I was

                  11      being asked to break the law. I did not know how to get help or where to turn. This chapter was

                  12      one of the darkest of my life, and I am still dealing with the mental health consequences of

                  13      spending more than a year of my life doing work that I believe fundamentally harmed people and

                  14      actually exacerbated San Francisco’s homelessness crisis.

                  15

                  16

                  17      I have reviewed the information contained in this declaration. I declare under the penalties of

                  18      perjury that the contents are true and correct to the best of my knowledge.

                  19
                          Executed on: November 30, 2022
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                                                                                _________________
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                                                                                Kaki Marshall
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   ATTORNEYS AT LAW
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